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 1   SUMMARY OF RECOMMENDATION
 2         The Court appointed me1 as Special Master in this civil action. The
 3   Court’s original appointment order under Federal Rule of Civil
 4   Procedure 53(c) broadly authorized me (a) to rule on the parties’ discovery
 5   disputes and motions directed to me by the parties or the Court, and
 6   (b) to conduct settlement proceedings at the request of the parties or the
 7   Court. (Docket # 70.) The Court subsequently referred the defense’s pending
 8   motion to compel arbitration to me for a report and recommendation.
 9   (Docket # 17, 73.)
10         I conclude that the motion should be denied as premature. The
11   main issue in this federal action - whether the insurer breached its duty to
12   defend its insured - is disputed and has not been resolved. Under the present
13   circumstances, that’s a prerequisite to requiring fee arbitration between the
14   insurer and the insured (and, by extension, the lawyers involved). As a result,
15   I recommend that the motion to compel arbitration be denied without
16   prejudice.
17   FACTS AND RELEVANT PROCEDURAL HISTORY
18         The Protest and the Abdullah Action
19         The genesis of the parties’ dispute was a protest at the home of former
20   Los Angeles County District Attorney Jackie Lacey. At the height of the
21   Black Lives Matter movement in March 2020, protestors demonstrated at the
22   Lacey residence. (Docket # 1-1 (complaint) at ¶¶ 5, 20.) When several
23   individuals approached the house early in the morning, Mrs. Lacey’s husband
24   “opened the door [of the house,] holding a handgun.” (Id. at ¶ 20.)
25         Several months later, three of the protestors filed a civil action in state
26   court (the “Abdullah Action”) against Mr. and Mrs. Lacey. The tort claims
27         1      Hon. Michael R. Wilner, former United States Magistrate Judge for the
28   Central District of California.
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 1   against the Laceys in the Abdullah Action centered on Mr. Lacey’s
 2   interactions with the protestors while holding the gun. 2 (Docket # 30-2
 3   (complaint in Abdullah Action) at 83 et seq.)
 4         The Tender of the Abdullah Action
 5         The Laceys tendered the Abdullah Action to Defendant State Farm,
 6   their home insurer. The insurer “immediately accepted Mrs. Lacey’s defense
 7   without reservation of rights and retained counsel [Harry Safarian] to defend
 8   her.” (Docket # 17 at 8.) However, based on its reading of the complaint in
 9   the Abdullah Action - focusing on contentions that Mr. Lacey allegedly
10   brandished the weapon and pointed it at the protestors - and the language of
11   the Laceys’ insurance policies, the insurer “initially declined Mr. Lacey’s
12   initial tender of defense.” (Id.) As a result, Mr. Lacey independently retained
13   the Ellis George law firm to defend him in the Abdullah Action.
14         In early 2021, the litigants in the Abdullah Action filed an amended
15   complaint in the state court action. The amended complaint included,
16   inter alia, a new tort cause of action against Mr. Lacey. Mr. Lacey “tendered
17   defense of the [amended] complaint” to State Farm. (Id.) State Farm “agreed
18   to defend Mr. Lacey (subject to a reservation of rights) [ ] but only
19   prospectively, leaving him responsible for all of his attorney’s fees and costs
20   incurred this far.”3 (Docket # 22 at 7 (emphasis in original).) Additionally,
21   the insurer agreed to pay the Ellis George firm at Cumis / panel counsel rates,
22   not the firm’s higher billing rates. (Id.)
23         In the summer of 2023, State Farm settled the Abdullah Action on
24   behalf of Mrs. Lacey. (Docket # 1-1 at ¶ 36.) The insurer later settled the
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26
           2     For clarity, the litigants in the Abdullah Action did not allege that
     Mr. Lacey ever discharged the weapon or fired it at the protestors.
27         3      State Farm contends that the Laceys were never obliged to pay
28   anything to their lawyers. See infra at n.6.

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 1   Abdullah Action on behalf of Mr. Lacey’s estate (he passed away in 2022) in
 2   March 2024. (Id. at ¶ 44.)
 3         The Federal Action
 4         In May 2024, Mrs. Lacey sued State Farm. 4 The complaint alleged that
 5   State Farm breached its insurance contracts by “failing and refusing to timely
 6   and reasonably provide a legal defense of Mr. Lacey, including payment of his
 7   attorneys’ fees, related to the Abdullah Action.” (Docket # 1-1 at ¶ 54.) The
 8   complaint also alleged that State Farm breached the implied covenant of good
 9   faith and fair dealing by its conduct. (Id. at ¶ 57-61.) According to the civil
10   complaint, Mr. Safarian (the attorney whom the insurer appointed to
11   represent Mrs. Lacey) allegedly engaged in a variety of tactics to interfere
12   with the defense of Abdullah Action at the behest of State Farm and to the
13   detriment of the Laceys. (Id. at ¶ 38 et seq.) The complaint sought
14   compensatory and punitive damages for Mrs. Lacey from the insurer.
15         Mrs. Lacey originally filed this action in state court. State Farm
16   removed it to federal court on diversity of citizenship grounds in June 2024.
17   (Docket # 1.) State Farm answered the complaint. (Twice, actually.
18   (Docket # 1-4 (state court), 11 (amended answer in federal court).)
19         In September 2024, State Farm filed the instant motion to compel the
20   action to arbitration pursuant to California Civil Code section 2860.
21   Following my appointment as special master in the action, the district court
22   referred this motion (Docket # 17), Plaintiff’s opposition (Docket # 22), and
23   State Farm’s reply (Docket # 27) to me for consideration. I acknowledge
24   reviewing these briefs and their supporting materials. Additionally, I
25   conducted a preliminary discussion and a substantive motion hearing with the
26
           4      The action is formally styled in Mrs. Lacey’s own name and in her
27   capacity as trustee of a trust that was the successor-in-interest to her late husband.
28   For convenience, I’ll simply refer to Mrs. Lacey as the plaintiff in this action.

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 1   parties on February 11 and 24, 2025, respectively. This Report and
 2   Recommendation follows.
 3   RELEVANT LEGAL PRINCIPLES
 4         California Civil Code section 2860 codifies an insurer’s duty to provide
 5   an independent defense to its insured in the event of a conflict of interest.
 6   Under Section 2860(c), an insured may “select[ ] independent counsel to
 7   represent him or her.” The insurer is obliged to pay that independent lawyer
 8   (often referred to as Cumis counsel under state law) on behalf of the insured.
 9   However, that payment obligation is limited by statute “to the rates which are
10   actually paid by the insurer to attorneys retained by it in the ordinary course
11   of business in the defense of similar actions” in the community. (Id.)
12         Section 2860(c) states that “[a]ny dispute concerning attorney’s fees” to
13   be paid to independent counsel “shall be resolved by final and binding
14   arbitration by a single neutral arbitrator selected by the parties to the
15   dispute.” See also Long v. Century Indemnity Co., 163 Cal. Ap. 4th 1460,
16   1471 (2008) (“Any dispute concerning attorney fees to be paid Cumis counsel
17   must be submitted to arbitration” unless insurance contract specifies
18   otherwise).
19         The provisions of Section 2860(c) do not apply, though, if a court
20   determines that the insurer “acted in bad faith or breached its duty to defend”
21   its insured; that conclusion “would place the Section 2860, subdivision (c)
22   procedures out of [the insurer’s] reach.” Intergulf Development v. Superior
23   Court, 183 Cal. App. 4th 16, 21 (2010).
24                                         ***
25         This sets up a decision point. If there is a dispute between the parties
26   “concerning the amount of Cumis counsel fees owed in the defense of an
27   insured in a third party suit, that dispute ultimately must be resolved by
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 1   arbitration” per Section 2860. Janopaul + Block Companies v. Superior Court,
 2   200 Cal. App. 4th 1239, 1251 (2011) (emphasis in original, citing Intergulf).
 3   However, an insured’s claims that an insurer breached a duty to defend the
 4   insured “must be resolved first in the trial court before any [Section 2860(c)]
 5   arbitration because a determination of one or more of those issues in favor of
 6   the insured may eliminate altogether the need for arbitration.” Id. (emphasis
 7   in original).
 8         California courts (and federal courts applying state law in diversity
 9   actions) “are divided over whether arbitration of the attorney’s fee dispute
10   should take place before resolution of other coverage issues.” Philadelphia
11   Indemnity Ins. Co. v. IEC Corp., No. SA CV 16-295 DOC (AJWx), 2017 WL
12   3579703 at *2 (C.D. Cal. 2017). The mere recitation of a claim against an
13   insurer of bad faith or breach of the duty to defend is insufficient to defeat a
14   request for fee arbitration. Fontana Union Water Co. v. Arch Ins. Co., No. ED
15   CV 16-59 VAP (KKx), 2016 WL 9045966 at *3 (C.D. Cal. 2016) (citing
16   Compulink Management v, St. Paul Fire & Marine, 169 Cal. App. 4th 289, 296
17   (2008).
18         Rather, a court must determine the “gravamen” of the insured’s
19   complaint against the insurer. Associated Industries Ins. Co. v. San Joaquin
20   Hill Transportation Corridor Agency, No. CV 18-1776 PSG (JDEx), 2023 WL
21   2357292 at *3 (C.D. Cal. 2023) (“gravamen” of insured’s claim was insurer’s
22   “failure to defend [the insured] promptly and completely”). “Ultimately, the
23   caselaw comes down to a question: does the bulk of the dispute lie with
24   attorney’s fees, or does it include broader issues that should be resolved prior
25   to arbitration.” CONAM Management Corp. v. Great American E&S Ins. Co.,
26   2024 WL 3405614 at *4 (S.D. Cal. 2024).
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 1         Where an insurer and insured “do not dispute [the insurer’s] duty to
 2   defend, but rather how [the insurer] has attempted to fulfill that duty,” the
 3   claims are “not substantially broader than a dispute over attorney’s fees.” Id.
 4   at *5. Arbitration is appropriate in that situation. However, when “the
 5   parties disagree as to whether” an insurer owed and breached a duty to
 6   defend the insured in the underlying lawsuit, “it may be “premature to
 7   determine [the insurer’s] right to arbitrate the independent counsel’s fee
 8   dispute under § 2860.” Philadelphia Indemnity, 2017 WL 3579703 at *3;
 9   Travelers Indemnity Co. of Connecticut v. Walking U. Ranch, No. CV 18 2482
10   CAS (PJWx), 2018 WL 3768421 at *10 (C.D. Cal. 2018) (“Because the
11   threshold issues of whether [the insurer] breached its duty to defend and
12   breach[ed] the implied covenant of good faith and fair dealing remain
13   unresolved at this juncture, the Court will resolve those claims first to avoid
14   the potentially prejudicial effect of an arbitrator’s factual findings on these
15   counterclaims.”)
16         When evaluating a request for Section 2860 fee arbitration, a court
17   should not rule on an insurer’s contention that it complied with or owed no
18   duty to defend the insured. That’s “a merits argument in disguise,” and
19   threatens to “push aside” an insured’s claims in “a cavalier manner.”
20   Steelcase Inc. v. Nationwide Indemnity Co., No. CV 14-6291 SVW (RZx), 2015
21   WL 12828056 at *3 (C.D. Cal. 2015) (motion to compel fee arbitration “does
22   not provide a proper vehicle” for resolving claim of breach of duty to defend).
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 1   ANALYSIS
 2            Several key points govern the analysis of State Farm’s request to send
 3   this action to fee arbitration. They all support Mrs. Lacey - at this stage of the
 4   proceedings - and warrant denial of the motion.
 5            First, the gravamen of Mrs. Lacey’s claim is clearly linked to State
 6   Farm’s initial denial of a defense to Mr. Lacey. The parties agree that
 7   State Farm denied a defense to Mr. Lacey when he tendered the original
 8   Abdullah Action in late 2020. Indeed, the insurer steadfastly continues to
 9   argue that there was no potential for coverage (and, therefore, no ensuing
10   duty to defend) based on the original allegations in the case. (Docket # 17
11   at 25 (“Here, State Farm properly declined Mr. Lacey’s tender of defense of
12   the original Complaint because it did not create the potential of coverage.”).)
13            That admitted denial of coverage - and Mrs. Lacey’s related contention
14   in this lawsuit that the denial was wrongful - is sufficient to raise a
15   preliminary issue for the Court to consider before determining whether
16   arbitration is appropriate. CONAM Management, 2024 WL 3405614 at *4;
17   Travelers Indemnity, 2018 WL 3768421 at *10; Steelcase, 2015 WL 12828056
18   at *3.
19            Second, State Farm makes much of its later decision to defend
20   Mr. Lacey and pay a portion of his legal bills after the amendment of the
21   pleadings in the Abdullah Action. The insurer contends that, “[s]o long as the
22   insurer assumed the defense and agreed to pay independent counsel” later in
23   the action, it is entitled to arbitration “irrespective of an initial coverage
24   dispute.” (Docket # 17 at 24-25.)
25            Yet the decisions that State Farm cites in support of this proposition
26   predate Intergulf, Janopaul, and current analyses of those opinions and the
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 1   statute.5 They’re also inconsistent with current analyses of the statute that
 2   federal courts regularly issue on this topic. Philadelphia Indemnity, 2017 WL
 3   3579703 at *3; Associated Industries, 2023 WL 2357292 at *3. Relying on
 4   yesterday’s law for today’s litigation isn’t particularly persuasive.
 5         Further, State Farm’s decision to defend Mr. Lacey didn’t come about
 6   because the insurer re-evaluated and attempted to cure its original decision
 7   regarding coverage (thereby suggesting better-than-bad faith on its part).
 8   Instead, the company made a new decision based on the changed circumstance
 9   of a new pleading in the Abdullah Action. Save for that, the original
10   determination to deny a defense would have been baked into the litigation.
11         Finally, State Farm takes an unduly narrow view of Plaintiff’s claims in
12   the federal action. The insurer posits that Mrs. Lacey’s only damages are
13   based on the “alleged underpayment of Cumis counsel’s invoices,” and that
14   she has neither “particularly alleged” nor produced records “to support her
15   damages claims” beyond the fee issues. (Docket # 17 at 20-21.)
16         I agree that the original complaint against State Farm is a bit cagey in
17   its recitation of potential damages. I also agree that the calculation of unpaid
18   fees to the Ellis George firm is front and center in the pleading. However, a
19   fair reading of the prayer for relief in the complaint, the list of alleged
20   misconduct against State Farm and its agent (Mr. Safarian), and Mrs. Lacey’s
21   Rule 26 disclosures (Docket # 30-2 at 225 (Ex. 18 to State Farm’s motion))
22   makes reasonably clear that Mrs. Lacey seeks “emotional distress damages in
23   an as-yet-undetermined amount” from State Farm based on its cumulative
24   conduct. That is, Mrs. Lacey contends that State Farm’s initial denial of a
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           5      Compare Long (2008); Karsant Family Ltd. Partnership v. Allstate Ins.
26   Co., 2009 WL 188036 at *5 (N.D. Cal. 2009); Blue Ridge v. Jacobsen, 25 Cal. 4th 489,
     498 (2001) (cited in Defendant’s motion) with Intergulf (2010) and Janopaul (2011).
27   See also Senior District Judge Snyder’s able analysis of this contention in Travelers,
28   2018 WL 3768421 at *9-10.

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 1   defense to Mr. Lacey and its ongoing alleged interference with the Abdullah
 2   Action caused her harm, including a fear that she owed a large amount of
 3   money to her independent lawyers.6
 4         That’s out of the mine run of typical Cumis counsel reimbursement
 5   cases, and tips in favor of denying arbitration at this stage of the case. It’s
 6   also something that experienced practitioners wouldn’t expect to be
 7   particularly documented at the Rule 26 stage of litigation. The complaint
 8   adequately and colorably pled tort damages that are distinct from a bare claim
 9   of unpaid lawyer fees.
10   CONCLUSION
11         State Farm’s acknowledged denial of a defense to its insured -
12   appropriate under the policy or not - precludes compulsory arbitration of the
13   claims raised in this litigation. Before an action of this nature is forced to
14   arbitration, Plaintiff Lacey is entitled to a determination on her claims
15   regarding the insurer’s alleged breach of its duties. For this reason, the
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18         6      At the motion hearing and in a post-hearing submission, State Farm
     attempted to present evidence developed during discovery to minimize the
19   contention that Mrs. Lacey actually is on the hook to the Ellis George firm, or that
20   she suffered damages as a result of the insurer’s alleged conduct. (Docket # 74.)
                   Provable or not, I continue to be of the opinion that Plaintiff’s
21   allegations affect the consideration of the gravamen of the federal action. I also
     stand by my observation at the hearing that these claims of personal harm vary
22
     considerably from the business-to-business cases that the parties primarily cited in
23   their briefs.
                   Moreover, State Farm’s attempt to shove additional evidentiary
24
     material into my hands in this manner is the epitome of the “merits argument in
25   disguise” tactic that federal courts frown on. Steelcase, 2015 WL 12828056 at *3.
     The insurer may well get its opportunity to soon to convince the Court (or me, if a
26   future motion is referred to the special master) regarding the propriety of its actions
     or the speciousness of the damages allegations. That time is not now, though.
27   I decline to consider State Farm’s one-sided, after-the-fact evidentiary presentation
28   in analyzing the propriety of the arbitration request.

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 1   motion to compel arbitration should be denied without prejudice to later
 2   renewal.
 3        IT IS THEREFORE RECOMMENDED that the District Judge issue an
 4   order: (1) accepting the findings and recommendations in this Report and
 5   accompanying spreadsheets; and (2) deny the motion without prejudice as
 6   recommended.
 7
 8   Dated: March 3, 2025                     /s/ Judge Wilner
 9                                    _______________________________________
                                      HON. MICHAEL R. WILNER
10                                    U.S. MAGISTRATE JUDGE (RET.)
                                      SPECIAL MASTER
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